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1    STAN S. MALLISON (Bar No. 184191)
       StanM@TheMMLawFirm.com
2    HECTOR R. MARTINEZ (Bar No. 206336)
       HectorM@TheMMLawFirm.com
3    MALLISON & MARTINEZ
4    1939 Harrison Street, Suite 730
     Oakland, California 94612-3547
5    Telephone: (510) 832-9999
     Facsimile: (510) 832-1101
6
     Attorneys for Plaintiff
7
8    MARGARET ROSENTHAL, Bar No. 147501
     SABRINA L. SHADI, Bar No. 205405
9    VARTAN S. MADOYAN, Bar No. 279015
     BAKER & HOSTETLER LLP
10   11601 Wilshire Boulevard, Suite 1400
     Los Angeles, CA 90025-0509
11   Telephone: 310.820.8800
     Facsimile: 310.820.8859
12   Emails:    mrosenthal@bakerlaw.com
                sshadi@bakerlaw.com
13              vmadoyan@bakerlaw.com
14
     Attorneys for Defendants
15   SYSCO CORPORATION
     and SYSCO SAN FRANCISCO, INC.
16
17                         UNITED STATES DISTRICT COURT
18                      NORTHERN DISTRICT OF CALIFORNIA
19
     HENRY HERNANDEZ, individually and             Case No. 16-cv-06723-JSC
20   acting in the interest of other current and
     former employees,                             Hon. Jacqueline Scott Corley
21
22                Plaintiffs,                      JOINT STATUS REPORT
                                                   REGARDING STATUS OF
23         vs.                                     SETTLEMENT APPROVAL
24
     SYSCO CORPORATION, a Delaware
25   corporation; SYSCO SAN FRANCISCO,
     INC., a California corporation, and DOES
26   1 through 20, inclusive,
                                                   Date Action Filed: October 18, 2016
27                Defendants.                      Date Removed: November 21, 2016
28
     JOINT STATUS REPORT                                           Case No. 16-cv-06723-JSC
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 1         Pursuant to the Court’s Order (Dkt No. 159), Plaintiff HENRY HERNANDEZ
 2   (“Plaintiff”), and Defendants SYSCO CORPORATION and SYSCO SAN
 3   FRANCISCO, INC. (“Sysco SF”) (together, “Defendants”) (Plaintiff and Defendants
 4   are referred to collectively as the “Parties”), submit this Joint Status Report Regarding
 5   Status of Settlement Approval.
 6         The Parties in this action and in the related action of Albert Moreno v. Sysco
 7   San Francisco, Inc. (“Moreno Action”) reached a global settlement of the Plaintiffs’
 8   class action and representative PAGA action claims in the two actions. The Parties
 9   in the two actions agreed to seek a global settlement approval in the Moreno Action.
10   Pursuant to the stipulation of the parties in this action, the Court stayed this action on
11   July 13, 2021, pending resolution of the global settlement approval in the Moreno
12   Action.
13         A motion for preliminary approval of the global settlement, along with
14   supporting papers, was filed in the Moreno Action on July 20, 2021. That motion
15   was set to be heard on August 3, 2021 in the Moreno Action (Judge Brad Seligman).
16   The court issued a tentative order requesting that the parties answer nine
17   questions/issues posed by Judge Seligman, and the hearing was continued to August
18   31, 2021, in order to allow the parties to amend their settlement agreement and submit
19   a supplemental motion.
20         The parties executed an amended settlement agreement and filed supplemental
21   motion papers on August 26, 2021. On August 30, 2021, Judge Seligman issued a
22   tentative ruling granting the motion, in part, and requesting that the parties further
23   amend the settlement agreement to revise language regarding one issue that the court
24   raised with respect to procedures by which employees may object to the settlement.
25   Judge Seligman stated that the court will hear any such objections regardless of
26   whether or not employees submit such objections in writing. The parties subsequently
27   amended the settlement agreement to address the court’s lone remaining issue, and
28                                               2
     JOINT STATUS REPORT                                               Case No. 16-cv-06723-JSC
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 1   on November 23, 2021, Plaintiffs filed their motion for final approval of the global
 2   settlement in the Moreno Action. The court in the Moreno Action granted final
 3   approval of the global settlement on December 9, 2021, after which Defendants
 4   submitted the settlement funds to the settlement administrator for distribution
 5   according to the terms of the settlement.
 6         Accordingly, the Parties in this action request that the Court dismiss this action
 7   with prejudice.
 8

 9   Respectfully submitted,
10
     Dated: January 5, 2022                          MALLISON & MARTINEZ
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12
                                                     By: /s/ Stan S. Mallison
13

14                                                   Stan S. Mallison
                                                     Hector R. Martinez
15
                                                     Attorneys for Plaintiff
16
     Dated: January 5, 2022                          BAKER & HOSTETLER LLP
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18
                                                     By: /s/ Vartan S. Madoyan
19
                                                     Margaret Rosenthal
20                                                   Sabrina L. Shadi
                                                     Vartan S. Madoyan
21
                                                     Attorneys for Defendants
22

23                                      ATTESTATION
             I, Vartan S. Madoyan, attest that all other signatures listed, and on whose
24
     behalf the filing is submitted, concur in the filing’s content and have authorized the
25   filing.
26
                                                     /s/ Vartan S. Madoyan
27                                                       Vartan S. Madoyan

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     JOINT STATUS REPORT                                               Case No. 16-cv-06723-JSC
